         Case 6:22-cv-06075-DGL Document 17 Filed 07/13/22 Page 1 of 3




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
                                                            X

 TAYLOR RAE HINE,
 on her own behalf and on behalf of others similarly
 situated,
                                             Plaintiff,

                       -against-
                                                                  Civ. No.: 6:22-cv-06075 (DGL)
 INSOMNIA COOKIES, KRISPY KREME INC,
 f/d/b/a Krispy Kreme Doughnut of New York
 d/b/a Krispy Kreme, and SETH BERKOWITZ,

                                           Defendants.

                                                            X


                     DEFENDANTS’ NOTICE OF MOTION
            TO VACATE JUDGMENT AND ENTER AMENDED JUDGMENT

       PLEASE TAKE NOTICE that, upon the accompanying Declaration of Douglas J. Klein

Esq., executed on July 13, 2022, and the exhibits attached thereto, and the Memorandum of Law

in Support of Defendants’ Motion to Vacate Judgment and Enter Amended Judgment in the above-

referenced action dated July 13, 2022 (the “Motion”), submitted herewith, and all the pleadings

and proceedings in this action, pursuant to Fed. R. Civ. P. 60(b) and 68, Defendants Insomnia

Cookies, LLC (incorrectly named as Insomnia Cookies, (“Insomnia”) (and for purposes of this

submission together with Serve U Brands, Inc., the “Company”), Krispy Kreme, Inc., and Seth

Berkowitz (collectively “Defendants”), by and through their undersigned counsel, will move this

Court before the Hon. David G. Larimer, United States District Judge, at the United States District

Court for the Western District of New York, Kenneth B. Keating Federal Building, 100 State

Street, Rochester, New York 14614, at a time and date to be determined by the Court, for an order

granting Defendants’ Motion, and for such other and further relief as the Court deems just and

proper, including costs and reasonable attorneys’ fees.

                                                1
         Case 6:22-cv-06075-DGL Document 17 Filed 07/13/22 Page 2 of 3




       PLEASE TAKE FURTHER NOTICE that, Defendants intend to file and serve reply

papers as permitted by the Federal Rules of Civil Procedure, the Court, and/or this Court’s Local

Rules of Civil Procedure.


Dated: July 13, 2022
       New York, New York                           Respectfully submitted,

                                                    JACKSON LEWIS P.C.
                                                    ATTORNEYS FOR DEFENDANTS
                                                    666 Third Avenue, 29th Floor
                                                    New York, NY 10017
                                                    Phone: (212) 545-4000

                                            By:     s/ Douglas J. Klein
                                                    Noel P. Tripp
                                                    Douglas J. Klein




                                               2
            Case 6:22-cv-06075-DGL Document 17 Filed 07/13/22 Page 3 of 3




                                CERTIFICATION OF SERVICE

         I hereby certify that on this 13th day of July, 2022, the foregoing document was filed with

the Clerk of the Court and served in accordance with the Federal Rules of Civil Procedure, and/or

the Western District’s Local Rules, and/or the Western District’s Rules on Electronic Service upon

the following parties and participants:



                                          JOHN TROY
                                    AARON SCHWEITZER
                                        TIFFANY TROY
                                       TROY LAW, PLLC
                                  ATTORNEYS FOR PLAINTIFF
                                41-25 Kissena Boulevard Suite 103
                                       Flushing, NY 11355
                                       Tel: (718) 762-1324




                                              s/ Douglas J. Klein
                                              DOUGLAS J. KLEIN, ESQ.



4890-5040-9257, v. 1




                                                  3
